                                                                                                                                                                          2/04/22 11:04AM




 Fill in this information to identify the case:
 Debtor name Amerivet Services LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN                                                                                 Check if this is an
                                                - EDMI
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Abrasive Solutions                                              trade account                                                                                            $25,153.00
 12875 Mack Ave
 Cement City, MI
 49233
 Ally Financial                                                  2020 Ram 4500                                       $65,492.00                 $65,000.00                $65,492.00
 200 Renaissance Ctr
 Detroit, MI 48243
 Alro Steel                                                      trade account                                                                                            $19,612.54
 PO Box 541005
 Detroit, MI 48264
 American Express                                                credit card                                                                                                $3,841.09
 Business Cash
 Card
 P.O. Box 650448
 Dallas, TX 75265
 American Express                                                credit card                                                                                                $3,527.05
 Business Plus
 P.O. Box 650448
 Dallas, TX 75265
 Billd                                                           material funding                                                                                         $78,952.00
 2700 W Anderson
 Lane #206
 Austin, TX 78756
 CFG                                                             loan                                                                                                     $56,475.00
 765 East Route 70.
 Building A-101.
 Marlton, NJ 08053
 Chase Business                                                  credit card                                                                                              $26,881.03
 Visa
 PO BOX 6226
 Chicago, IL
 60680-6026
 Comerica Bank                                                   credit card                                                                                              $28,000.00
 P.O. Box 790408
 Saint Louis, MO
 63179



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 Debtor    Amerivet Services LLC                                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Daniels Building                                                collection             Unliquidated                                                                      $10,000.00
 Company                                                                                Disputed
 33900 Eight Mile Rd.
 Farmington, MI
 48335
 Forward Financing                                               loan                                                                                                     $50,000.00
 53 State St,
 Boston, MA 02109
 Grarret Brown                                                   shareholder loan                                                                                         $20,000.00
 12795 Silver Lake
 Rd.
 Brighton, MI 48116
 Kabbage                                                         line of credit                                                                                           $24,950.32
 730 Peachtree Street
 Atlanta, GA 30308
 On Deck                                                         term loan                                                                                                $95,336.25
 1400 BROADWAY
 25TH FLOOR New
 York,
 New York, NY 10018
 On Deck                                                         line of credit                                                                                           $22,445.62
 1400 BROADWAY
 25TH FLOOR New
 York,
 New York, NY 10018
 Pay Pal Credit                                                  credit card                                                                                                $2,870.75
 Services
 Attn: Bankruptcy
 Po Box 103104
 Roswell, GA 30076
 SBA                                                             economic injury                                    $295,000.00                 $40,010.00              $254,990.00
 801 Tom Martin Dr.                                              disaster loan
 Ste. 120
 Birmingham, AL
 35211
 Sugar Steel                                                     trade account                                                                                            $23,341.93
 Corporation
 2521 State Street
 Chicago Heights
 Chicago Heights, IL
 60411
 Sunbelt Rentals Inc.                                            trade account                                                                                              $7,717.14
 48595 Grand River
 Avenue,
 Novi, MI 48374
 TMS Metalizing                                                  trade account                                                                                            $16,083.00
 Systems
 7765 NW Eldorado
 Blvd Ste 101
 Bremerton, WA
 98312



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